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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION

K. SCOTT STOKES,           )
                           )
     Plaintiff,            )
                           )                  CIVIL ACTION
v.                         )
                           )                  FILE No. 2:24-cv-00153-SCJ
THE FRANVILLE CORPORATION, )
                           )
     Defendant.            )

                      JOINT NOTICE OF SETTLEMENT

      NOTICE IS HEREBY GIVEN that all claims pending in this matter have been

resolved to the satisfaction of Plaintiff and Defendant. The parties request that this

case be administratively closed, and that the Court permit the parties sixty (60) days

to complete the settlement, at which time they shall file to dismiss this case with

prejudice.

                                       Dated: January 7, 2025.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       Ehrlich Law Office, LLC
                                       493 Flat Shoals Avenue, S.E.
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                                       /s/M. Tyler Smith
                                       M. Tyler Smith
                                       Georgia Bar No. 661685
                                       Smith, Gilliam, Williams & Miles, P.A.
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                                       Gainesville, Georgia 30503
                                       Fax: (770) 531-1481
                                       tsmith@sgwmfirm.com

                         CERTIFICATE OF SERVICE

      I certify that on January 7, 2025, I filed the within and foregoing Joint Notice

of Settlement using the CM/ECF System for the federal District Court for the

Northern District of Georgia, resulting in a true and correct copy of the same to be

served upon the following counsel of record via electronic mail:

M. Tyler Smith, Esq.
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P.O. Box 1098
Gainesville, Georgia 30503
tsmith@sgwmfirm.com

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman and

a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich

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